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AO 245B (Rev 02/18) Judgment in a Criminal Case
                    Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                             Amended Judgment in a Criminal Case - Reason:
                                                                       Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                    V.
                                                                       (To correct Title and Section)
                    MAX LAURENCE PERU                                  Case Number: 2:18CR02321-001KG
                                                                       USM Number: 55157-051
                                                                       Defendant’s Attorney: Mario A. Esparza, Appointed

THE DEFENDANT:

☒     pleaded guilty to count(s) Indictment.
☐     pleaded nolo contendere to count(s) which was accepted by the court.
☐     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title and Section               Nature of Offense                                               Offense Ended               Count

18 U.S.C. Sec. 922(g)(1)        Felon in Possession of a Firearm and Ammunition                 01/26/2018


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s) .
☐ Count(s) dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                    5/21/2019
                                                                    Date of Imposition of Judgment


                                                                    /s/ Kenneth J. Gonzales
                                                                    Signature of Judge


                                                                    Honorable Kenneth J. Gonzales
                                                                    United States District Judge
                                                                    Name and Title of Judge

                                                                    5/22/2019
                                                                    Date
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                    Sheet 2 - Imprisonment



DEFENDANT: MAX LAURENCE PERU
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                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 70 months.



☒ The court makes the following recommendations to the Bureau of Prisons:
  Phoenix Federal Correctional Institution, Phoenix, Arizona, if eligible
  or a Federal Correctional Institution as close as possible to Phoenix Federal Correctional Institution, if eligible

The Court recommends the defendant participate in the Bureau of Prisons 500 hour drug and alcohol treatment program.

☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                               RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                  at                                 with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
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                    Sheet 3 – Supervised Release                                                                               Judgment - Page 3 of 7



DEFENDANT: MAX LAURENCE PERU
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 3 years .


                                                       MANDATORY CONDITIONS

1.   You must not commit another federal, state, or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
               future substance abuse. (Check, if applicable.)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state, local, or tribal sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (Check, if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation
     officer.
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9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
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                    Sheet 5 – Special Conditions                                                Judgment - Page 5 of 7


DEFENDANT: MAX LAURENCE PERU
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                                          SPECIAL CONDITIONS OF SUPERVISION

You must not use or possess alcohol.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
substances (e.g., synthetic cannabinoids, synthetic cathinones, etc.) that impair your physical or mental
functioning, whether or not intended for human consumption.

You must not possess, sell, offer for sale, transport, cause to be transported, cause to affect interstate
commerce, import, or export any drug paraphernalia, as defined in 21 U.S.C. 863(d).

You must participate in a mental health treatment program and follow the rules and regulations of that
program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program. You may be required to pay all, or a portion, of the costs of the program.

You shall waive your right of confidentiality and allow the treatment provider to release treatment
records to the probation officer and sign all necessary releases to enable the probation officer to monitor
your progress. The probation officer may disclose the presentence report, any previous mental health
evaluations and/or other pertinent treatment records to the treatment provider.

You must take all mental health medications that are prescribed by your treating physician. You may be
required to pay all, or a portion, of the costs of the program.

You must participate in an outpatient substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You may be required to pay all, or a portion, of
the costs of the program.

You shall waive your right of confidentiality and allow the treatment provider to release treatment
records to the probation officer and sign all necessary releases to enable the probation officer to monitor
your progress. The probation officer may disclose the presentence report, any previous substance abuse
evaluations and/or other pertinent treatment records to the treatment provider.

You must submit to substance abuse testing to determine if you have used a prohibited substance.
Testing may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, an
alcohol monitoring technology program, and/or any form of prohibited substance screening or testing.
You must not attempt to obstruct or tamper with the testing methods. You may be required to pay all, or
a portion, of the costs of the testing.

You must submit to a search of your person, property, residence, vehicle, papers, computers (as defined
in 18 U.S.C. 1030(e)(1)), other electronic communications or data storage devices or media, or office
under your control. The probation officer may conduct a search under this condition only when
reasonable suspicion exists, in a reasonable manner and at a reasonable time, for the purpose of detecting
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illegal substances, firearms, or other contraband . You must inform any residents or occupants that the
premises may be subject to a search.

You must participate in and successfully complete a community-based program which provides
education and training in anger management.


You must not contact Marisol Torres and must adhere to all stipulations described in the Mutual
Permanent Order of Protection and Permanent Injunction filed in State of New Mexico Docket No.
DM2004-00028.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.




   Defendant’s Signature                                                                      Date
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AO 245B (Rev 02/18) Judgment in a Criminal Case
                    Sheet 6 – Criminal Monetary Penalties                                                             Judgment - Page 7 of 7


DEFENDANT: MAX LAURENCE PERU
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                                               CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments.

☐    The Court hereby remits the defendant’s Special Penalty Assessment; the fee is waived and no payment is required.

Totals:                               Assessment               JVTA Assessment*               Fine                     Restitution
                                       $100.00                        $                        $                            $


☐    The determination of the restitution is deferred until . An Amended Judgment in a Criminal Case will be entered after such
     determination.
☐    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ☒      In full immediately; or

B    ☐     $ due immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties: Criminal monetary penalties are to be made
payable by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque,
New Mexico 87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case
number and type of payment.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties; and (9) costs, including cost of prosecution and
court costs.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
